EXHIBIT A
Settlement Agreement
                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA,

       Plaintiff,
                                                     CIVIL NO. 2:22-cv-00709-MSG
       v.
                                                     SETTLEMENT AGREEMENT
THE UNIFIED JUDICIAL SYSTEM OF
PENNSYLVANIA, THE SUPREME
COURT OF PENNSYLVANIA, THE
BLAIR COUNTY COURT OF COMMON
PLEAS, THE LACKAWANNA COUNTY
COURT OF COMMON PLEAS, THE
JEFFERSON COUNTY COURT OF
COMMON PLEAS, and THE
NORTHUMBERLAND COUNTY COURT
OF COMMON PLEAS,

       Defendants.

                                       INTRODUCTION
       1.      The United States of America brought this action against the Unified Judicial

System of Pennsylvania (UJS), the Supreme Court of Pennsylvania, the Blair County Court of

Common Pleas, the Lackawanna County Court of Common Pleas, the Jefferson County Court of

Common Pleas, and the Northumberland County Court of Common Pleas, to enforce Title II of

the Americans with Disabilities Act (ADA), 42 U.S.C. §§ 12131–34, and its implementing

regulation, 28 C.F.R. Part 35. The Supreme Court of Pennsylvania having been dismissed with

prejudice by agreement, the United States and the remaining parties to this action (“Defendants”)

agree to a settlement as set forth herein. Additionally, having agreed to undertake certain actions

to implement the settlement, the Administrative Office of Pennsylvania Courts is a signatory to

this Agreement.

       2.      The United States has alleged that Defendants discriminated against individuals
with Opioid Use Disorder (OUD) in the administration of their court supervision programs, in

violation of Title II of the ADA, by prohibiting or otherwise limiting the use of medication

prescribed to treat OUD.

       3.      The Defendants deny that they have failed to comply with the requirements of the

ADA, and this Agreement is not an admission of wrongdoing by the Defendants. Defendants do

not admit that they have ever acted improperly or unlawfully towards individuals with

disabilities under court supervision as alleged by the United States and are seeking to settle this

case in order to conclusively resolve the differences that exist between them and the United

States. Further, the UJS contends that the United States’ investigation, while identifying some

issues in individual judicial districts, did not find widespread violations.

       4.      The United States and Defendants agree that it is in the Parties’ best interests, and

the United States believes it is in the public interest, to resolve this matter on mutually agreeable

terms. The Parties voluntarily enter into this Agreement, as set forth below.

                                          THE PARTIES
       5.      Plaintiff is the United States of America.

       6.      Defendant UJS is established by the Constitution of the Commonwealth of

Pennsylvania and consists of all the state courts and judges in the Commonwealth of

Pennsylvania including “the Supreme Court, the Superior Court, the Commonwealth Court,

courts of common pleas, community courts, municipal courts in the City of Philadelphia, [and]

such other courts as may be provided by law and justices of the peace.” Pa. Const. art. V, §1.

Each County Court of Common Pleas is a component court of the UJS. The United States

alleges that as the state court system of Pennsylvania, the UJS is a “public entity” subject to Title

II of the ADA and its implementing regulation. 42 U.S.C. § 12131(1); 28 C.F.R. § 35.104.

Defendant UJS denies that it is a separate entity that can be sued.

                                                  2
       7.      Defendant Blair County Court of Common Pleas is a public entity subject to Title

II of the ADA and its implementing regulation. 42 U.S.C. § 12131(1); 28 C.F.R. § 35.104.

       8.      Defendant Lackawanna County Court of Common Pleas is a public entity subject

to Title II of the ADA and its implementing regulation. Id.

       9.      Defendant Jefferson County Court of Common Pleas is a public entity subject to

Title II of the ADA and its implementing regulation. Id.

       10.     Defendant Northumberland County Court of Common Pleas is a public entity

subject to Title II of the ADA and its implementing regulation. Id.

                                      LEGAL STANDARDS
       11.     Title II of the ADA prohibits public entities from administering or operating their

programs in a manner that discriminates against individuals with disabilities. 42 U.S.C. § 12132

(“[N]o qualified individual with a disability shall, by reason of such disability, be excluded from

participation in or be denied the benefits of the services, programs, or activities of a public entity,

or be subjected to discrimination by any such entity.”).

       12.     Public entities may not “impose or apply eligibility criteria that screen out or tend

to screen out an individual with a disability or any class of individuals with disabilities from fully

and equally enjoying any service, program, or activity, unless such criteria can be shown to be

necessary for the provision of the service, program, or activity being offered.” 28 C.F.R.

§ 35.130(b)(8).

       13.     Public entities may not utilize criteria or methods of administration that (i) have

the effect of subjecting qualified individuals with disabilities to discrimination on the basis of

disability; or (ii) have the purpose or effect of defeating or substantially impairing

accomplishment of the objectives of the public entity’s program with respect to individuals with

disabilities. Id. § 35.130(b)(3).

                                                  3
       14.     “The phrase ‘criteria or methods of administration’ refers to official written

policies of the public entity and to the actual practices of the public entity.” 28 C.F.R. pt. 35,

App. B.

       15.     Public entities may impose legitimate safety requirements necessary to safely

operate their services, programs, or activities, but only if such requirements “are based on actual

risks, not on mere speculation, stereotypes, or generalizations about individuals with

disabilities.” Id. § 35.130(h).

       16.     The United States alleges that Complainants identified in its amended complaint

(ECF Dkt. No. 28) are qualified individuals with disabilities who are protected by Title II of the

ADA because of their OUD. Complainants’ OUD is a physical or mental impairment that

substantially limits one or more major life activities, which includes the operation of major

bodily functions. 28 C.F.R. § 35.108(b)(2) (defining physical or mental impairment to include

“drug addiction”). Complainants’ OUD substantially limits major life activities, such as caring

for oneself, learning, concentrating, thinking, and communicating. 42 U.S.C. § 12102(2)(A);

28 C.F.R. § 35.108(c)(1)(i). Complainants’ OUD also limits the operation of major bodily

functions, such as neurological and brain functions. 42 U.S.C. § 12102(2)(B); 28 C.F.R.

§ 35.108(c)(1)(ii). The determination of whether an impairment substantially limits a major life

activity is made without regard to the effect that ameliorating measures—including medication—

may have on the impairment. 42 U.S.C. § 12102(4)(E)(i); 28 C.F.R. § 35.108(d)(1)(viii).

       17.     The United States alleges that Complainants identified in its amended complaint

are not currently engaged in the illegal use of drugs. 42 U.S.C. § 12210; 28 C.F.R. § 35.131. An

individual’s use of controlled substances is not an “illegal use of drugs” if the person takes those

substances “under supervision by a licensed health care professional, or other uses authorized by



                                                  4
the Controlled Substances Act or other provisions of Federal law.” 42 U.S.C. § 12210(d)(1).

This includes buprenorphine, methadone, or naltrexone medications prescribed to treat OUD.

                         ACTIONS TO BE TAKEN BY DEFENDANTS
       18.     General Nondiscrimination Obligation. Defendants, directly and through any

applicable contractual or other arrangements, will comply with the requirements of Title II of the

ADA and its implementing regulation by ensuring that individuals with disabilities have equal

opportunities to benefit from Defendants’ programs. These requirements include that:

               a.      Defendants will not exclude individuals with disabilities from or deny

       them the benefits of its services, programs, or activities, or otherwise subject them to

       discrimination. See 28 C.F.R. § 35.130(a).

               b.      Defendants will not deny individuals with disabilities the opportunity to

       participate in or benefit from Defendants’ aids, benefits, services, or programs. Nor will

       Defendants provide individuals with disabilities opportunities that are unequal to those

       afforded to individuals who do not have disabilities. See id. § 35.130(b)(1).

               c.      Defendants will not provide different or separate aids, benefits, or services

       to individuals with disabilities or to any class of individuals with disabilities than is

       provided to others unless such action is necessary to provide qualified individuals with

       disabilities with aids, benefits, or services that are as effective as those provided to others.

       See id. § 35.130(b)(1)(iv).

               d.      Defendants will not impose or apply eligibility criteria that screen out or

       tend to screen out individuals with disabilities from fully and equally enjoying

       Defendants’ services, programs, or activities, unless it can show that such criteria are

       necessary for its provision of those services, programs, or activities. See id.

       § 35.130(b)(8).

                                                  5
                 e.      Defendants will not utilize criteria or methods of administration that

          (i) have the effect of subjecting qualified individuals with disabilities to discrimination on

          the basis of disability; or (ii) have the purpose or effect of defeating or substantially

          impairing accomplishment of the objectives of Defendants’ programs with respect to

          individuals with disabilities. Id. § 35.130(b)(3).

19.       Policy Adoption: Within 60 days of the Effective Date, the Administrative Office of

Pennsylvania Courts will recommend and encourage all judicial districts to adopt—as an

addendum to their policy implementing the Americans with Disabilities Act—the attached

Policy (see Exhibit 1) regarding medication to treat OUD. Within 90 days of the Effective Date,

three Defendant County Courts of Common Pleas (Blair, Jefferson, and Northumberland) will

adopt the Policy. Within six months of the Effective Date, the Administrative Office of

Pennsylvania Courts will report to the United States on the steps taken to recommend and

encourage all judicial districts to adopt the Policy, and on which counties agreed to adopt the

Policy.

          20.    Policy Distribution: Within 90 days of the Effective Date:

                 a.      The three Defendant County Courts of Common Pleas identified in

          paragraph 19 will: (i) post links to the Policy in conspicuous locations on their respective

          website homepages, if such exists; (ii) provide copies of the Policy to all current

          personnel and treatment court team members; (iii) provide copies of the Policy to all new

          personnel and treatment court team members within 30 days of them being hired or

          joining a treatment court team; and (iv) provide copies of the Policy and a guide

          produced by the National Association of Drug Court Professionals on Understanding

          Medication to Treat Opioid Use Disorder to all individuals under court supervision.



                                                     6
               b.      The Administrative Office of Pennsylvania Courts will: (i) ensure that a

       link to the Policy is posted in a conspicuous location on the “ADA Compliance” page of

       the UJS’s website; and (ii) recommend and encourage all judicial districts to provide

       individuals under court supervision with a copy of the Policy and the above-mentioned

       document on Understanding Medication to Treat Opioid Use Disorder. The

       Administrative Office of Pennsylvania Courts will distribute the Policy and the

       referenced document to all judicial districts by sending copies to the President Judges of

       each district along with an instruction that substantially tracks the language of this

       provision.

       21.     Training: The Administrative Office of Pennsylvania Courts will provide training

on the Policy and Title II of the ADA to all UJS judges handling criminal matters, and all

probation and treatment court coordinators, including training about OUD, medications used to

treat OUD, and disability discrimination in general as follows.

               a.      The training will be provided by All Rise or by another mutually agreed

       upon trainer.

               b.      An initial training will be offered live at a Pennsylvania Conference of

       State Trial Judges conference (or, in the alternative, in a live virtual format to all state

       trial judges) immediately following the Effective Date and will give participants an

       opportunity to pose questions to the trainers. The training will be recorded to be shared

       with those who are unable to attend in person. A second live training will be offered at

       the Pennsylvania Association of Treatment Court Professionals during the term of the

       Agreement.

               c.      The three Defendant County Courts of Common Pleas identified in



                                                  7
       paragraph 19 will ensure in their respective judicial districts that: (i) all judges handling

       criminal matters and all probation and treatment court coordinators attend the live

       training or promptly view the video recording; (ii) all new judges and all new probation

       or treatment court coordinators attend the live training or view the video recording within

       60 days of their hiring.

              d.      Within three months of the Effective Date, the Administrative Office of

       Pennsylvania Courts will: (i) recommend and encourage all judicial districts to ensure

       that judges handling criminal matters and all current personnel and treatment court team

       members attend the live training or view the video recording; and (ii) recommend and

       encourage all judicial districts to ensure that all new judges and all new personnel and

       treatment court team members attend the live training or view the video recording within

       60 days of their hiring.

       22.    Compliance: Defendants will take all necessary steps to effectuate the terms of

this Agreement including:

              a.      The Administrative Office of Pennsylvania Courts will encourage all UJS

       court programs, including treatment court programs, and all related employees, agents,

       and contractors, to comply with the Policy and to ensure that corrective actions are

       implemented for any deviation from the Policy.

              b.      The Problem-Solving Courts Administrator and Coordinator for Court

       Access will aid Defendants with training on Title II of the ADA and specifically

       medication for OUD in treatment courts. The Coordinator for Court Access will assist

       individual judicial district ADA coordinators with investigating and resolving complaints

       or grievances alleging disability discrimination consistent with the requirements of this



                                                  8
       Agreement, Pennsylvania Rules of Judicial Administration 250-52, and the ADA.

       23.     Information and Data Sharing: Information and data will be shared as set forth

below to assist the Parties in assessing progress on actions required by this Agreement; to

identify problems; and to facilitate delivery of additional technical assistance. Whenever

information or data is shared, the Parties agree to confer as needed to clarify facts and issues.

               a.      Within nine months of the Effective Date, and again 90 days prior to the

       conclusion of this Agreement, the Administrative Office of Pennsylvania Courts will

       provide a report to the United States detailing the number, nature, and disposition of all

       complaints regarding access to OUD medication submitted to any component of the UJS.

               b.      Within nine months of the Effective Date, and again 90 days prior to the

       conclusion of this Agreement, the Administrative Office of Pennsylvania Courts will

       provide a report to the United States detailing all efforts undertaken by the

       Administrative Office of Pennsylvania Courts and the three Defendant County Courts of

       Common Pleas identified in paragraph 19 with respect to each required action in this

       Agreement. This report will include a description of all trainings conducted and the date

       they were conducted, attendance lists for each of the two live trainings, and confirmation

       from the three Defendant County Courts of Common Pleas that all probation and

       treatment court coordinators attended one of the live trainings or viewed a video

       recording of the trainings, consistent with Paragraph 21(c). It will also detail any

       problems encountered, and any plans to be completed in the year ahead.

               c.      Defendants agree to work collaboratively with the United States to provide

       information in response to its reasonable inquiries about matters covered by this

       Agreement.



                                                  9
       24.     Communication Methods: All materials exchanged by the Parties related to this

Agreement will be sent by email to undersigned counsel. If the materials cannot be emailed,

they will be sent by common carrier other than the U.S. Postal Service to the appropriate below

address with a cover letter including a subject line referencing DJ No. 204-64-170.

               a.      For the United States: David Knight and Adam Lewis, Trial Attorneys (DJ

       No. 204-64-170), Disability Rights Section, Civil Rights Division, U.S. Department of

       Justice, 4 Constitution Square, 150 M Street NE, 9th Floor, Washington, D.C. 20002.

               b.      For the Defendants: Robert Krandel, 1515 Market Street Suite 1414,

       Philadelphia, PA, 19102.

       25.     Damages: Within 15 days of the Effective Date, Defendants will offer to pay

aggrieved individuals a total of $100,000, as authorized by 42 U.S.C. § 12133. The United

States will identify to Defendants each aggrieved person and the amount that person will receive.

This amount will not be subject to withholding deductions, and Defendants will issue an IRS

Form 1099 to each aggrieved person for these amounts.

       26.     Defendants will send each identified aggrieved individual a copy of this signed

Agreement, the Notice Letter and Release of Claims Form attached as Exhibits 2 and 3, and an

offer of payment. Defendants will send the United States copies of the Notice Letter and the

Release of Claims Form when they are sent to each aggrieved person.

       27.     In order to accept the relief offered by Defendants, each aggrieved person must

execute and return the Release of Claims (Exhibit 3) to Defendants within 30 days of receiving

the Notice Letter (Exhibit 2).

       28.     For each aggrieved person who accepts the relief as described in Paragraphs 25-

27 above, Defendants must pay the total monetary amount within 90 days of receiving that



                                               10
person’s signed Release of Claims Form. Within 30 days of paying each aggrieved person,

Defendants will send the United States proof of payment and a copy of each aggrieved person’s

signed Release of Claims Form.

                        IMPLEMENTATION AND ENFORCEMENT
       29.     Within 14 days of the Effective Date, the Parties shall jointly move the Court to

dismiss the amended complaint, pursuant to Fed. R. Civ. P. 41(a)(2), subject to reinstatement as

set forth in the following paragraph. The joint motion will include this Agreement as an Exhibit.

       30.     Defendants agree to work collaboratively with the United States in response to its

reasonable inquiries about matters covered by this Agreement. If the United States believes that

Defendants have failed to timely comply with any requirement of this Agreement, the United

States will notify Defendants in writing and the Parties will try to resolve the issue in good faith.

If the Parties cannot resolve the issue, the United States may move to reinstate the underlying

civil action against the Defendants as defined herein for purposes of resolving any such claims of

breach. Defendants agree not to contest any such motion but do not waive their ability to contest

the merits of the alleged breach or any other defenses to the underlying civil

action. Alternatively, the United States may bring a civil action for breach of this Agreement or

any provision thereof, or for a violation of Title II of the ADA, in an appropriate United States

District Court seeking any appropriate relief.

       31.     Failure by the United States to enforce any provision of this Agreement will not

be construed as a waiver of the United States’ right to enforce any provision of this Agreement.

       32.     If any term of this Agreement is determined by any court to be unenforceable, the

other terms of this Agreement will remain in full force and effect.

       33.     Any modification of this Agreement, including to any time limits for

performance, may be made only by the mutual written consent of the Parties with approval of the

                                                 11
Court.

         34.   This Agreement is binding on Defendants, each of their officers, agents,

employees, successors, and assigns, and all other persons in active concert or participation with

them.

         35.   The signatories to this document representing Defendants are authorized to bind

Defendants to the terms of this Agreement.

         36.   This Agreement constitutes the entire agreement between the United States and

Defendants on this matter. No other statement, promise, or agreement, either written or oral,

made by any party or agents of any party, that is not contained in this written Agreement,

including its attachments, is enforceable.

         37.   Except for the enforcement of the terms of this Agreement, neither those terms

nor the fact of the present settlement can be used by the United States for any purpose in any

other proceeding, investigation, or action against any component of the Pennsylvania Unified

Judicial System, the Defendants or the Supreme Court of Pennsylvania.

         38.   This Agreement is not intended to remedy any other potential violations of the

ADA or any other law that are not specifically addressed in this Agreement.

         39.   This Agreement does not affect Defendants’ continuing responsibility to comply

with all aspects of the ADA.

         40.   The Parties agree that following execution of this Agreement, further litigation is

not “reasonably foreseeable” concerning the matters described in the amended complaint. To the

extent either party previously implemented a litigation hold to preserve documents, electronically

stored information, or things, the party is no longer required to maintain such a litigation hold.

Nothing in this paragraph relieves either party of any other obligations imposed by this



                                                 12
Agreement.

        41.    All durations specified in this Agreement run from the Effective Date of the

Agreement unless otherwise indicated.

        42.    Each of the Parties will bear its own costs and attorney fees associated with this

litigation.

        43.    This Agreement shall be effective on the date the last party executes the

Agreement (i.e., the Effective Date) and will remain in effect for two years.




                                                13
FOR THE UNITED STATES OF AMERICA:


JACQUELINE C. ROMERO                            REBECCA B. BOND
United States Attorney                          Chief
Eastern District of Pennsylvania
                                                ______________________
GREGORY B. DAVID                                KEVIN KIJEWSKI
Assistant United States Attorney                Deputy Chief
Chief, Civil Division                           DAVID W. KNIGHT
                                                ADAM F. LEWIS
CHARLENE KELLER FULLMER                         Trial Attorneys
Assistant United States Attorney                Disability Rights Section
Deputy Chief, Civil Division                    Civil Rights Division
                                                U.S. Department of Justice
MICHAEL J. BUTLER                               150 M Street NE
Special Assistant United States Attorney        Washington, D.C. 20530
                                                Telephone: 202-307-0663
LAUREN DEBRUICKER                               David.Knight@usdoj.gov
Assistant United States Attorney                Adam.Lewis@usdoj.gov
Deputy Civil Chief for Civil Rights
United States Attorney’s Office                 _1/31/2024____________
Eastern District of Pennsylvania                DATE
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106
Telephone: 215-861-8492
Michael.J.Butler@usdoj.gov
Lauren.DeBruicker@usdoj.gov

For the Unified Judicial System of Pennsylvania (UJS), the Administrative Office of
Pennsylvania Courts, the Blair County Court of Common Pleas, the Lackawanna County Court
of Common Pleas, the Jefferson County Court of Common Pleas, and the Northumberland
County Court of Common Pleas:
  /s/Robert J. Krandel/rjk
_________________________________            _1/30/2024_____________
ROBERT J. KRANDEL                               DATE
Legal Counsel
Administrative Office of PA Courts
1515 Market Street, Suite 1414
Philadelphia, PA 19102
legaldepartment@pacourts.us
(215) 560-6326, Fax: (215) 560-5486




                                           14
                    Exhibit 1 (Addendum ADA Policy in Judicial Districts)
       It is the policy of this judicial district to prohibit discrimination against all individuals—
including those with substance use disorder—in accessing or participating in judicial
proceedings or other Court services, programs, or activities.
       The United States Department of Justice maintains that blanket or per se bans barring or
otherwise limiting persons under court supervision (including pretrial probation and release,
post-conviction probation and parole, and Problem-Solving Courts—including Adult, Juvenile,
or Family Drug Court; DUI Court, Adult or Juvenile Mental Health Court; veterans Treatment
Court; Domestic Violence Court) from accessing physician-prescribed medications and
treatment is a violation of the Americans with Disabilities Act (ADA).
      It is the policy of this judicial district to conform to the position of the United States
Department of Justice in the following respects.
        Absent an individualized determination, as more fully described below, no judge, unit, or
member of this judicial district may prohibit or otherwise limit an individual’s use of medication
that they have been lawfully prescribed, and that they are taking as prescribed, to treat substance
use disorder.
       Decisions about whether a person should be prescribed medication, and about medication
type and dosage, are to be made only by a licensed prescriber on an individualized basis.
        No judge, unit, or member of this judicial district will interfere with a licensed
prescriber’s decisions about an individual’s appropriate medication and treatment regimen.
        No judge, unit, or member of this judicial district will express a preference for, or
mandate, one medication over another nor in any way penalize or restrict an individual
participating in a court proceeding or program from taking their medication as prescribed.
        No judge, unit, or member of this judicial district will condition admission to,
participation in, or successful completion of a Problem-Solving Court or other court program,
service, or activity on reducing, weaning off, or abstaining from taking prescribed medication.
       No judge, unit, or member of this judicial district will rely upon prior illicit use of
medication for substance use disorder as grounds for prohibiting current use of medication for
substance use disorder that comes from a licensed prescriber.
        Individuals with substance use disorder who are participating in a court proceeding or
program may be required to comply with the treatment recommendations of a licensed
prescriber.

        This Policy is not intended to interfere with appropriate exercises of judicial discretion in
individual cases. To that end, nothing in this Policy limits a judge’s discretion to order that an
individual be evaluated for medical treatment or comply with a treatment plan as a condition of
release, probation, supervision, or participation in a Problem-Solving Court or other court or
probation program. In issuing such an order, a judge should make an individualized

                                                  1
determination, based on the information available, which may include an individual’s criminal,
medical, and probation history. An individual’s previous illicit use of a medication is not
grounds for prohibiting their use of that medication going forward as directed by their licensed
provider.
        Judges have the authority to monitor medication compliance in the context of a term of
probation, supervision, or condition of release and to further the court’s public safety obligation.
When a judge is concerned about an individual’s use or misuse of medication, the judge may act
to mitigate and reduce the risk of abuse, misuse, and diversion of medication. In many cases,
appropriate action will include, among other things, communication with the prescriber by a
probation officer or other UJS personnel as directed by the judge.
        Compliance with the ADA does not require that a court allow an individual to participate
in, or benefit from, its services or programs if the person poses a “direct threat to the health or
safety of others.” 28 C.F.R. § 35.139. A determination that an individual poses a direct threat
must be grounded in current medical knowledge or the best available objective evidence to
ascertain: the nature, duration, and severity of the risk; the probability that the potential injury
will actually occur; and whether reasonable modifications of policies, practices, or procedures or
the provision of auxiliary aids or services will mitigate the risk. Id. A court may not conclude
that an individual prescribed medication poses a “direct threat” based on generalizations or
scientifically unsupported assumptions about medications or persons who are prescribed
medication.
       Individuals who believe there has been a violation of this Policy may file a grievance
pursuant to the Grievance Procedure of the (UJS entity name here). (Link to Grievance
Procedure and Form here.)




                                                 2
                                            Exhibit 2


BY OVERNIGHT MAIL

[INSERT NAME AND ADDRESS]

               Re:    United States v. Unified Judicial System of Pennsylvania, et al.
                      Civil Action No. 22-CV-00709 (E.D.P.A.)
                      DJ No. 204-64-170

Dear Complainant:

       The United States Department of Justice and Defendants, the Unified Judicial System of
Pennsylvania, the Blair County Court of Common Pleas, the Lackawanna County Court of
Common Pleas, the Jefferson County Court of Common Pleas, and the Northumberland County
Court of Common Pleas, (“Defendants”) have entered into an Agreement to resolve the above-
referenced civil action brought by the United States. A copy of the Agreement is enclosed.

       Under the Agreement, Defendants are offering you a payment of $XXXXXX.

       In order to accept Defendants’ offer, you must sign and notarize the enclosed Release of
Claims Form and return it within 30 days of your receipt of this letter. You may return the form
by email, or by overnight carrier to:

       [Name]
       [Title]
       [Address]
       Defendant

        This monetary sum is offered to you on the following condition: if you accept it, you will
have to release Defendants from all claims you may have against them, arising out of the facts
alleged in United States v. Unified Judicial System of Pennsylvania, et al., Civil Action No. 22-
cv-00709 filed in the U.S. District Court for the Eastern District of Pennsylvania by signing the
attached Release of Claims Form. Within 90 days of receipt of your release, Defendants will pay
you $XXXXXX. The payment will not be subject to withholding deductions, and Defendants
will send you an IRS Form 1099 for the amount paid.

       If you have any questions about this letter or the Agreement, you may contact me at
________ or you may contact David Knight (david.knight@usdoj.gov) or Adam Lewis
(adam.lewis@usdoj.gov) at the U.S. Department of Justice’s Civil Rights Division.

       Sincerely,

       XXXXXXXX

       Enclosures:

                                                1
Copy of Executed Agreement
Release of Claims Form


cc:   David Knight, U.S. Department of Justice, Civil Rights Division
      Adam Lewis, U.S. Department of Justice, Civil Rights Division
      Lauren DeBruicker, U.S. Attorney’s Office, Eastern District of Pennsylvania




                                      2
                                           Exhibit 3


                               RELEASE OF CLAIMS FORM

              United States v. Unified Judicial System of Pennsylvania, et. al.
              Civil Action No. 22-cv-00709 (E.D.P.A.)
              DJ No. 204-64-170

         For and in consideration of the settlement amount paid by the Unified Judicial System
of Pennsylvania, the Blair County Court of Common Pleas, the Lackawanna County Court of
Common Pleas, the Jefferson County Court of Common Pleas, and the Northumberland County
Court of Common Pleas (“Defendants”) under the Agreement entered into by, and between, the
United States and Defendants, regarding United States v. Unified Judicial System of
Pennsylvania, et al., Civil Action No. 22-cv-00709, I, [INSERT NAME], hereby release and
forever discharge the Unified Judicial System of Pennsylvania, the Blair County Court of
Common Pleas, the Lackawanna County Court of Common Pleas, the Jefferson County Court
of Common Pleas, and the Northumberland County Court of Common Pleas and all current,
past, and future officials, employees, agents, successors, assigns, and administrators, of and
from any legal and equitable claims, actions, causes of action, suits, controversies, damages,
and demands that I had, or now have, up to the date of my signature below, arising out of the
facts alleged in the amended complaint filed by the United States in United States v. Unified
Judicial System of Pennsylvania, et al.

        This Release constitutes the entire agreement between Defendants and me without
exception or exclusion. This Release will be null and void if Defendants fails to offer and pay
the settlement amount of $XXXXXX.

        I have read and understand this Release and sign it of my own free will. I understand
that I may consult an attorney of my choosing. I also acknowledge that I have been given a copy
of the Agreement.

                    Signed this ______day of __________________, 2023.



                    _____________________________________________
                                       [NAME]
